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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

ANTONIA DOUGLASS and
ELIZABETH EVERETT,

                   Plaintiffs,
v.                                                   Case No. 2:20-cv-02076-KHV-GEB
GARDEN CITY COMMUNITY COLLEGE,
HERBERT J. SWENDER, RODNEY
DOZIER, MERILYN DOUGLASS, BLAKE
WASINGER, JEFF CRIST, STEVE
MARTINEZ, and TERI WORF, Trustees of
Garden City Community College, in their
official capacities,

and

BRICE KNAPP, and FREDDIE STRAWDER,
and GARDEN CITY, KANSAS, through its
POLICE DEPARTMENT,

                   Defendants.

                        JOINT REQUEST REGARDING PLACE OF TRIAL

         The parties, by the undersigned counsel, hereby request that the trial in the above matter

be held in Dodge City, Kansas.

/s/ Jean Lamfers (w/permission)                      /s/ Jeremy K. Schrag
Jean Lamfers, KS #12707                              Jeremy K. Schrag, KS #24164
Lamfers & Associates, L.C.                           Karly D. Weigel, KS #27670
Sarah A. Brown, KS #12130                            Haley A. Phillips, KS #28135
Brown & Curry, LLC                                   LEWIS BRISBOIS BISGAARD & SMITH LLP
1600 Genessee Street, Suite 956                      1605 N. Waterfront Parkway, Suite 150
Kansas City, MO 64102                                Wichita, KS 67206
Telephone: 913-962-8200                              Telephone: 316-609-7900
jl@lamferslaw.com                                    jeremy.schrag@lewisbrisbois.com
sarah@brownandcurry.com                              karly.weigel@lewisbrisbois.com
                                                     haley.phillips@lewisbrisbois.com
Attorneys for Plaintiff
                                                     Attorneys for GCCC Defendants




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/s/ Ronald P. Pope                                    /s/ Samuel A. Green (w/consent)
Ronald P. Pope, KS #11919                             Samuel A. Green, KS #24221
RALSTON, POPE & DIEHL, LLC                            FISHER, PATTERSON, SAYLER & SMITH, LLP
2913 Maupin Lane                                      3550 S.W. 5th Street
Topeka, KS 66614-4139                                 Topeka, Kansas 66606
Telephone: 785-273-8002                               Telephone: 785.232.7761
ron@ralstonpope.com                                   sgreen@fisherpatterson.com

Attorney for Herbert Swender                          Attorneys for Defendants Garden City,
                                                      Kansas and Freddie Strawder

                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 5, 2022, the foregoing Joint Request Regarding Place of Trial

was filed electronically using the court’s electronic filing system which will send notice to all

counsel of record.

                                                      /s/ Jeremy K. Schrag
                                                      Jeremy K. Schrag




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